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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

                                         )
  BABY DOE, A CITIZEN OF AFGHANISTAN )
  CURRENTLY RESIDING IN NORTH            )            Civil Action No. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          )
  FRIENDS, JOHN AND JANE DOE; AND        )
  JOHN AND JANE DOE, CITIZENS OF         )            Judge Norman K. Moon
  AFGHANISTAN AND LEGAL GUARDIANS )
  OF BABY DOE,                           )            Magistrate Judge Joel C. Hoppe
                                         )
                             Plaintiffs, )
                                         )
                      v.                 )
                                         )
  JOSHUA MAST, STEPHANIE MAST,           )
  RICHARD MAST, KIMBERLEY MOTLEY, )
  AND AHMAD OSMANI,                      )
                                         )
                             Defendants, )
                                         )
                      and                )
                                         )
  UNITED STATES SECRETARY OF STATE )
  ANTONY BLINKEN AND UNITED STATES )
  SECRETARY OF DEFENSE GENERAL           )
  LLOYD AUSTIN,                          )
                             Nominal     )
                             Defendants. )
  _______________________________________)

                       MOTION FOR PRO HAC VICE ADMISSION OF
                           CAITLIN PARRY CONTESTABLE

                                           Introduction

         Pursuant to Rule 6(d) of this Court’s Local Civil Rules, Dan Backer, counsel for non-party

  Pipe Hitter Foundation, Inc. (“Pipe Hitter”), hereby moves for this Court to admit Caitlin Parry

  Contestable to practice pro hac vice in the above-captioned matter. In support of this motion,

  undersigned counsel respectfully represents:



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     1. Ms. Contestable has particular knowledge of the facts of this case.

     2. Ms. Contestable is not a member of the Bar of this Court and is not licensed to practice law

         in the Commonwealth of Virginia.

     3. Ms. Contestable is licensed to practice and a member of good standing of the Bars of North

         Carolina (Bar No. 59096), District of Columbia (Bar No. 1782383), and Maryland

         (Attorney ID No. 1112150005).

     4. Ms. Contestable is also admitted to practice before the U.S. District Court for the District

         of Maryland (Bar No. 18826).

     5. Ms. Contestable is of good character and standing and has the requisite experience and

         professionalism required to appear before this Court.

     WHEREFORE, counsel respectfully requests this Court admit Caitlin Parry Contestable pro

  hac vice to practice before this Court solely in the above-captioned matter. Counsel also moves

  that the Court exercise its discretion to allow Ms. Contestable to “appear at hearings or trials in the

  absence of an associated member” pursuant to Local Rule 6(d).

     Respectfully submitted this 29th day of July 2023.


                                                        /s/ Dan Backer
                                                        Dan Backer, Esq.
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                                                        Counsel for Non-Party Pipe
                                                        Hitter Foundation, Inc.



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